Case 8:21-cv-01252-CEH-SPF Document 11 Filed 10/25/21 Page 1 of 3 PageID 38


                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

ELISE HOWELL and JOHN
HOWELL,

       Plaintiffs,

v.                                                    Case No: 8:21-cv-1252-CEH-SPF

CROSSPOINT VETERINARY
HOSPITAL, LLC, CHRISTINE
MCHUGHES, EUGENE JENKINS
and UNKNOWN DEFENDANTS,

       Defendants.
                                         /

                                      ORDER

       This cause comes before the Court upon the Report and Recommendation filed

by Magistrate Judge Sean P. Flynn on October 8, 2021 (Doc. 9). In the Report and

Recommendation, Magistrate Judge Flynn recommends that: (1) Plaintiffs’ motions

to proceed in forma pauperis (Docs. 2, 3) be denied without prejudice and with leave to

file renewed requests to proceed in forma pauperis; (2) Plaintiffs’ Complaint (Doc. 1) be

dismissed without prejudice and with leave to file an amended complaint that sets

forth the basis for personal jurisdiction over Defendants, if any, and complies with

Federal Rules of Civil Procedure 8(a) and 10(b); and (3) Plaintiffs be advised that

failure to file an amended complaint within the allotted time may result in dismissal

of this action.
Case 8:21-cv-01252-CEH-SPF Document 11 Filed 10/25/21 Page 2 of 3 PageID 39


      Plaintiffs were furnished copies of the Report and Recommendation and were

afforded the opportunity to file objections pursuant to 28 U.S.C. § 636(b)(1). No such

objections were filed.

      Upon consideration of the Report and Recommendation, and upon this Court's

independent examination of the file, it is determined that the Report and

Recommendation should be adopted. Accordingly, it is now

      ORDERED:

      (1)    The Report and Recommendation of the Magistrate Judge (Doc. 9) is

             adopted, confirmed, and approved in all respects and is made a part of

             this Order for all purposes, including appellate review.

      (2)    Plaintiffs’ motions to proceed in forma pauperis (Docs. 2, 3) are denied

             without prejudice and with leave to file renewed requests to proceed in

             forma pauperis.

      (3)    Plaintiffs’ Complaint (Doc. 1) is dismissed without prejudice.

      (4)    Plaintiffs are granted leave to file an amended complaint, within twenty-

             one (21) days, that sets forth the basis for personal jurisdiction over

             Defendants, if any, and complies with Federal Rules of Civil Procedure

             8(a) and 10(b).

      (5)    Plaintiffs are advised that failure to file an amended complaint within the

             allotted time will result in dismissal of this action without further notice.




                                           2
Case 8:21-cv-01252-CEH-SPF Document 11 Filed 10/25/21 Page 3 of 3 PageID 40


     DONE AND ORDERED at Tampa, Florida on October 25, 2021.




Copies to:
The Honorable Sean P. Flynn
Counsel of Record




                                    3
